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 13                    IN THE UNITED STATES DISTRICT COURT
 14                        CENTRAL DISTRICT OF CALIFORNIA
 15    JUNIOR SPORTS MAGAZINES               CASE NO: 2:22-cv-04663-CAS (JCx)
       INC., RAYMOND BROWN,
 16    CALIFORNIA YOUTH SHOOTING             PLAINTIFFS’ SUPPLEMENTAL
       SPORTS ASSOCIATION, INC.,             BRIEF IN SUPPORT OF MOTION FOR
 17    REDLANDS CALIFORNIA                   PRELIMINARY INJUNCTION
       YOUTH CLAY SHOOTING
 18    SPORTS, INC., CALIFORNIA              Hearing Date:     October 17, 2022
       RIFLE & PISTOL ASSOCIATION,           Hearing Time:     10:00 a.m.
 19    INCORPORATED, THE CRPA                Courtroom:        8D
       FOUNDATION, AND GUN                   Judge:            Christina A. Snyder
 20    OWNERS OF CALIFORNIA, INC.;
       and SECOND AMENDMENT
 21    FOUNDATION,
 22                          Plaintiffs,
 23                   v.
 24    ROB BONTA, in his official capacity
       as Attorney General of the State of
 25    California; and DOES 1-10,
 26                          Defendant.
 27
 28


                           PLAINTIFFS’ SUPPLEMENTAL BRIEF
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  1                                      INTRODUCTION
  2           A supplemental round of briefing became necessary when the state of
  3    California, rather than defend the law they urgently enacted, decided to not-so-
  4    urgently1 change the law. This is a tactic denied to run-of-the-mill defendants but is
  5    an increasingly favored tactic by sovereign-defendants facing stiff odds defending
  6    their unconstitutional policies. See generally, N.Y. State Rifle & Pistol Ass’n v. City
  7    of New York (NYSRPA), __U.S.__, 140 S. Ct. 1525 (2019). Unlike the defendants in
  8    NYSRPA, the government here has not (yet) claimed that the change in law moots
  9    the controversy. Their lawyers, in a valiant but futile effort, instead claim that the
 10    amendments made to AB 2571, by AB 160, merely remove doubt and clarify the
 11    law by making explicit some exemptions that they claim were already implicit in the
 12    original text. Barvir Decl. Supp. Pls.’ Ex Parte App. (ECF No. 23), Ex. 1.
 13           Even if creating a carve-out for censorship somehow “clarifies” an inherently
 14    flawed policy, Plaintiffs contend that even this “new-and-improved” AB 25712 fails
 15    to respect the First Amendment. This Court should be skeptical too. AB 160 made
 16    only three edits to the State’s ban on firearm-related speech. Two were non-
 17    substantive word swaps. The third was the addition of a new subsection that, far
 18    from helping the State, supports Plaintiffs’ arguments that this law is fundamentally
 19    flawed on First and Fourteenth Amendment grounds. AB 160 did not fix AB 2571.
 20    It sealed its fate as an irrational and unconstitutional law.
 21
 22    ///
 23    ///
 24    ///
 25
          1
 26          As of filing, Assembly Bill 160 has still not been signed by the governor. It was
       presented to him on August 31, 2022. Subsection (1) of that legislation purports to
 27    amend AB 2571. In contrast, Governor Newsom signed AB 2571 on June 30, 2022,
       as “urgency” legislation hours after it was presented to him. It seems “urgency” has
 28    a fluid
           2
               definition at the state Capitol.
             For continuity, Plaintiffs refer to the challenged law—Business & Professions
       Code section 22949.80—as AB 2571.
                                                    1
                              PLAINTIFFS’ SUPPLEMENTAL BRIEF
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  1                                       ARGUMENT
  2    I.    AB 2571 VIOLATES PLAINTIFFS’ RIGHTS UNDER THE FIRST AMENDMENT
  3          A.     Even If AB 160 Takes Effect, AB 2571 Is Still a Content- and
                    Viewpoint-based Restriction on Plaintiffs’ Commercial and Non-
  4                 commercial Speech
  5          In the parties’ initial briefing, they argued at length over whether AB 2571
  6    restricted only commercial speech or also banned ideological and educational speech
  7    about the use of firearms and related products. Opp’n 7-12; Reply 2-8. As Plaintiffs
  8    established, AB 2571 “bars ‘firearm industry members’ from making or distributing
  9    any ‘communication’ ‘in exchange for monetary compensation’ if the speech (1)
 10    ‘concerns’ a ‘firearm-related product,’ (2) is designed, intended, or could reasonably
 11    be considered [to be] ‘attractive to minors,’ and (3) seeks to encourage the audience
 12    … to either purchase or use the product.” Reply 2-3 (quoting Cal. Bus. & Prof. Code
 13    § 22949.80(a)(1), (c)(6)). In short, the plain language of AB 2571 as adopted
 14    restricts not just speech that proposes the commercial sale of “firearm-related
 15    products,” but also a wide swath of pure speech promoting the use of such products.
 16    Reply 2-8; Brown Decl., ¶¶ 8-5; Coleman Decl., ¶¶ 4-10; Fink Decl., ¶¶ 9-20;
 17    Gomez Decl., ¶¶ 5-11; Gottlieb Decl., ¶¶ 7-13; Minnich Decl., ¶¶ 7-15; Rangel
 18    Decl., ¶¶ 3-11; see also Suppl. Brown Decl., ¶¶ 2-6; Suppl. Coleman Decl., ¶¶ 2-9;
 19    Suppl. Fink Decl., ¶¶ 2-5; Suppl. Gomez Decl., ¶¶ 2-9; Suppl. Gottlieb Decl., ¶¶ 2-5;
 20    Suppl. Minnich Decl., ¶¶ 2-7.
 21          With the introduction and adoption of AB 160, which amended AB 2571 in
 22    an apparent attempt to narrow the scope of the law, the State is poised to remove its
 23    gag on certain enumerated types of firearm-related speech. For instance, it no longer
 24    prohibits Plaintiffs CRPA and SAF from engaging in communications promoting
 25    junior membership in their organizations. Cal. Bus & Prof. Code § 22949.80(a)(3).
 26    And it allows Plaintiffs Brown, CYSSA, RCYCSS, and CRPA to resume
 27    advertisements to youth for their “firearm safety program[s], hunting safety or
 28    promotional program[s], firearm instructional course[s], sport shooting event[s] or

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  1    competition[s]” and other lawful “hunting activit[ies].” Id. But make no mistake.
  2    The law remains a content- and viewpoint-based restriction on Plaintiffs’
  3    commercial and non-commercial speech.
  4           Indeed, aside from adding subsection (c)(3), which carved out a limited
  5    exemption for some categories of pure speech,3 AB 160 made just two non-
  6    substantive changes to the original text of AB 2571. The first edit merely swaps the
  7    preposition “concerning” in subsection (a)(1) with the verb phrase “offering or
  8    promoting.” Suppl. Req. Jud. Ntc., Ex. 33 at 11. So the law now reads: “A firearm
  9    industry member shall not advertise, market, or arrange for placement of an
 10    advertising or marketing communication offering or promoting any firearm-related
 11    product in a manner that is designed, intended, or reasonably appears to be attractive
 12    to minors.” Id. (emphasis added).
 13           The second edit removes “service” from the phrase “product or service” in
 14    subsection (c)(6) and deletes “purchase or use the product or service” in favor of
 15    “engage in a commercial transaction.” The subsection now reads:
 16                “Marketing or advertising” means, in exchange for monetary
                   compensation, to make a communication, to one or more
 17                individuals, or to arrange for the dissemination to the public
                   of a communication, about a product, the primary purpose of
 18                which is the encourage the recipients of the communication
                   to engage in a commercial transaction.
 19
 20    Id., Ex. 33 at 13 (emphases added).
 21           Read together, AB 2571 (as amended by AB 160) will prohibit “firearm
 22    industry members” from making or distributing any “communication” “in exchange
 23    for monetary compensation” if the speech (1) “offers” or “promotes” a “firearm-
 24    related product,” (2) is designed, intended, or could reasonably be considered
 25    “attractive to minors,” and (3) seeks to encourage the audience to “engage in a
 26    commercial transaction.” Cal. Bus. & Prof. Code § 22949.80(a)(1), (c)(6)). For the
 27    reasons already laid out in Plaintiffs’ moving papers (Mot. 11-12; Reply 10-13), the
 28       3
           The effect of this exemption on the First Amendment analysis is explained
       below. Part I.B.1, infra.
                                               3
                             PLAINTIFFS’ SUPPLEMENTAL BRIEF
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  1    amended law is still a content- and viewpoint-based regulation of speech/press that
  2    targets the messages of particular speakers based on the communication’s “subject
  3    matter” and its “function or purpose.” Indeed, the State’s trivial word swaps do not
  4    change what is really being prohibited—distributing to the public, including both
  5    adults and children, information about firearm-related products that they might wish
  6    to use for lawful hunting and shooting activities.
  7          Plaintiffs’ supplemental declarations identify specific (non-exhaustive)
  8    examples of the types of commercial and non-commercial speech that will remain
  9    restricted should AB 160 take effect. Suppl. Brown Decl., ¶¶ 5; Suppl. Coleman
 10    Decl., ¶¶ 6-10; Suppl. Fink Decl., ¶¶ 6-9; Suppl. Gomez Decl., ¶¶ 4, 10; Suppl.
 11    Gottlieb Decl., ¶ 14; Suppl. Minnich Decl., ¶¶ 8, 12, 16, 20-22, 27. For instance,
 12    Plaintiff Junior Sports Magazines will still be barred from publishing and circulating
 13    Junior Shooters magazine in California. Suppl. Fink Decl., ¶¶ 6-9. That is because
 14    the amended law expressly prohibits the sorts of advertisements promoting the sale
 15    of lawful firearm-related products found in the pages of Junior Shooters magazine.
 16    Id., ¶ 7. To prevent substantial liability under AB 2571, Junior Sports Magazines
 17    must thus remove all such advertisements from Junior Shooters magazine (even
 18    though they are both truthful and lawful in the 49 other states where Junior Sports
 19    maintains circulation) or continue to bar distribution of the magazine in California
 20    entirely. Id. Of course, advertising makes publication of Junior Shooters magazine
 21    economically possible, so ending such advertising is not really an option. Id.
 22          Plaintiffs Junior Sports Magazines and CRPA will also continue to be barred
 23    from publishing articles and images that endorse firearm-related products designed
 24    for use by minors or come in colors or sizes that might be appealing to minors. Id., ¶
 25    6; Suppl. Minnich Decl., ¶ 12. And they could not publish articles written by youth
 26    shooters endorsing specific firearms or ammunition appropriate for competitive
 27    shooting applications by youth and smaller shooters. Suppl. Fink Decl., ¶ 6; Suppl.
 28    Minnich Decl., ¶ 12.

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   1         Plaintiffs Brown and CRPA will continue to see restrictions on the speech that
   2   takes place during their firearms training and safety programs and hunter’s
   3   education courses. Suppl. Brown Decl., ¶ 5; Suppl. Minnich Decl., ¶ 8. That is
   4   because the newly amended law exempts only speech “offering” or “promoting”
   5   these courses. Suppl. Req. Jud. Ntc., Ex. 33 at 11. It does not exempt the speech that
   6   takes place at them. Id. As a result, Plaintiffs Brown and CRPA must consider
   7   whether it is too risky to resume offering such courses to youth under 18. Suppl.
   8   Brown Decl., ¶ 5; Suppl. Minnich Decl., ¶ 8. And, if they do choose to resume such
   9   offerings, they must carefully censor their speech since such courses inherently
  10   include speech promoting firearm-related products, including recommendations
  11   about specific products. Suppl. Brown Decl., ¶ 5; Suppl. Minnich Decl., ¶ 8
  12   (explaining that California’s own Hunter Safety Course Study Guide—a resource
  13   that every hunter education course in the state must use—incorporates endorsements
  14   for “firearm-related products,” including hunting ammunition, eye- and ear-
  15   protection, adjustable shooting tripods, spotting scopes, and shotgun chokes, among
  16   other things).
  17         Similarly, CYSSA’s and RCYCSS’s volunteers and affiliated coaches and
  18   trainers will still be prohibited from endorsing, promoting, or suggesting that their
  19   young athletes obtain firearm-related products necessary for their success in the
  20   shooting sports. Suppl. Coleman Decl., ¶ 8. And they will be barred from endorsing
  21   a specific brand of ammunition or a particular firearm that works best for young and
  22   smaller athletes without violating the law. Suppl. Coleman Decl., ¶ 8.
  23         And finally, even with the new exemption for advertising competitive
  24   shooting and hunting programs, AB 2571 still restricts Plaintiffs’ ability to host and
  25   sponsor such activities for youth. Suppl. Gomez Decl., ¶¶ 2-5; Suppl. Minnich Decl.,
  26   ¶¶ 18-21. That is because these events regularly involve signage, flyers, discussions,
  27   branded merchandise, giveaways, and other communications that promote or offer
  28   firearm-related products. Suppl. Minnich Decl., ¶ 20. What’s more, like most large-

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   1   scale events, the cost of hosting these opportunities for youth generally must be
   2   offset by sponsors, including businesses that sell or manufacture firearms,
   3   ammunition, and related goods. Id. Sponsors are offered vendor booth space,
   4   banners, logo placement, or other forms advertising at these events in exchange for
   5   their financial support. Id. It is also customary, just like in other sports, to place
   6   sponsor logos on youth competitors’ uniforms and commemorative t-shirts. Id.
   7   Because AB 2571 provides no exception for sponsors of youth shooting events or
   8   for the speech that takes place at such events, the law threatens Plaintiffs’ ability to
   9   offer these events for young shooters and effectively silences all the commercial and
  10   non-commercial speech that takes place that them. Suppl. Gomez Decl., ¶¶ 2-5;
  11   Suppl. Minnich Decl., ¶¶ 18-21.
  12         What’s more, the AB 160 amendments do not address the vagueness and
  13   overbreadth concerns that Plaintiffs identified in their complaint and moving papers.
  14   Comp., ¶¶ 7, 48, 114-15; Mot. 15; Reply 4. In fact, by adding even more unclear
  15   language rather than taking it away, AB 160 makes the law in many ways more
  16   vague and more overbroad. Suppl. Req. Jud. Ntc., Ex. 33 at 11-13 (retaining
  17   overbroad and highly subjective references to communications that are “designed,
  18   intended, or reasonably appear[] to be attractive to minors” and adding vague
  19   references to “any similar program, course, or event”). Plaintiffs thus remain unsure
  20   exactly what speech is permissible under the law. So every single time they host an
  21   event open to youth, publish a magazine or bulletin, offer merchandise for sale,
  22   collaborate with industry-member sponsors or advertisers, or communicate with
  23   minors, they must weigh the risks of engaging in this otherwise lawful and truthful
  24   speech against the very real and very substantial risk of civil liability. Suppl. Brown
  25   Decl., ¶¶ 4-5; Suppl. Coleman Decl., ¶ 10; Suppl. Fink Decl., ¶ 9; Suppl. Gomez
  26   Decl., ¶ 10; Suppl. Gottlieb Decl., ¶ 14; Suppl. Minnich Decl., ¶ 27. The very
  27   thought is anathema to the fundamental right to free speech. Edge v. City of Everett,
  28   929 F.3d 657, 664-65 (9th Cir. 2019) (requiring “specificity of laws” when “First

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   1   Amendment freedoms are” implicated because unclear laws might “chill[] protected
   2   speech or expression by discouraging participation”).
   3
             B.     AB 2571 Cannot Survive Any Level of Judicial Scrutiny Applicable
   4                to Restrictions on Protected Speech
   5         Because AB 2571 is a content-based and viewpoint-discriminatory restriction
   6   on the non-commercial, pro-gun speech and associational activities described above,
   7   it is presumed invalid and may be upheld only if the government proves it is
   8   “narrowly tailored to serve [a] compelling state interest” under strict scrutiny. Reed
   9   v. Town of Gilbert, 576 U.S. 155, 163 (2015). For the reasons set forth in Plaintiffs’
  10   moving papers, the State cannot meet its burden under that exacting test and, in fact,
  11   did not even attempt to do so. Mot. 13-15; Reply 13. The Court should thus hold that
  12   Plaintiffs’ are likely to succeed on the merits of their First Amendment claims.
  13         But even if the Court finds that the AB 160 amendments effectively limit the
  14   law’s reach to only speech proposing the commercial sale of firearm-related
  15   products, the result is the same. Mot. 15-21; Reply 13-20. By now, it is beyond
  16   dispute that AB 2571, both as adopted and as recently amended, bans truthful
  17   commercial speech about lawful conduct. Mot. 16-17; Reply 14-15; Req. Jud. Ntc.,
  18   Ex 33 at 11-12; see also Part I.B., infra. The State cannot meet its burden to prove
  19   that the law withstands constitutional scrutiny—even under the slightly more
  20   forgiving commercial speech test of Central Hudson. The AB 160 amendments
  21   themselves made this fact all the more clear.
  22                1.    Subsection (c)(3), AB 160’s exemption for speech promoting
                          certain lawful activities, confirms that AB 2571 restricts
  23                      nonmisleading commercial speech about lawful activities.
  24         Even under the State’s own dubious theory that advertising “firearm-related
  25   products” to minors should become a whole new category of prohibited speech, the
  26   State’s new “exemption” for communications promoting certain lawful activities
  27   swallows the rule. The new exemption reads:
  28              This subdivision does not apply to a communication offering
                  or promoting any firearm safety program, hunting safety or
                                           7
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                  promotional program, firearm instructional course, sport
   1              shooting event or competition, or any similar program,
                  course, or event, nor does it apply to a communication
   2              offering or promoting membership in any organization, or
                  promotion of lawful hunting activity, including, but not
   3              limited to, any fundraising event, youth hunting program, or
                  outdoor camp.
   4
   5   Req. Jud. Ntc., Ex. 33 at 11-12 (amended § 22949.80 (a)(3)).

   6         This is such a strongly implied admission that it borders on a judicial

   7   admission that minors may lawfully possess and shoot firearms in California.

   8   Indeed, under this new subsection, “firearm industry members” are expressly

   9   allowed to market firearm safety programs, hunting safety courses, firearm

  10   instructional courses, and sport shooting events and competitions to minors—

  11   presumably so that minors may participate in such activities. Id. They may also

  12   market “lawful hunting activit[ies], including, but not limited to, any fundraising

  13   event, youth hunting program, or outdoor camp” where minors are highly likely to

  14   handle and use firearms, ammunition, and related products. Id. (emphasis added).

  15         In short, the amended law acknowledges on its face that, even if they must do

  16   so under adult supervision or with parental consent, minors may legally handle and

  17   shoot firearms in California. Id.; see also Cal. Penal Code §§ 29615(a)-(d), 29655;

  18   Barvir Decl., Ex. 32 (Department of Fish & Wildlife form seeking parental consent

  19   for minor to “handle, manipulate, and/or use firearms” during the state hunter’s

  20   safety course). Having vigorously resisted this fairly obvious point in its opposition,

  21   Opp’n 14-15, it was nice of the State to finally concede the point.
                  2.     AB 2571 does not directly or materially advance the State’s
  22                     purported public safety interest
  23         The State’s concession, however, raises a question: Is the State of California
  24   seriously suggesting that minors may lawfully engage in activities that require the
  25   use of firearm-related products, but that they (and their consenting parents) can be
  26   forbidden access to truthful market information about those products before taking
  27   part in such activities? The “logic” rivals the White Queen’s edict:
  28              “You couldn’t have it if you did want it,” the Queen said.

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                   “The rule is, jam tomorrow and jam yesterday – but never
   1               jam today.”
   2               “It must come sometimes to ‘jam today,’” Alice objected.
   3               “No, it can’t,” said the Queen. “It’s jam every other day:
                   today isn’t any other day, you know.”
   4
   5   Lewis Carroll, Through the Looking-Glass and What Alice Found There. It’s
   6   nonsensical. But more important than that, it illustrates the constitutional vice of AB
   7   2571. That is, the law acknowledges that minors can lawfully enjoy the shooting
   8   sports in California, but it punishes those who seek to provide minors with truthful
   9   information about the firearm-related products necessary to participate in those
  10   lawful activities. This is irrational on its face. And it establishes why AB 2571
  11   neither directly nor materially advances the State’s purported public safety interests.
  12         Rather than directly attack the perceived problem of illegal possession and
  13   use of firearms by minors, AB 2571 approaches the issue exactly backwards. It
  14   seeks to indirectly dampen the demand for even legal possession of firearm-related
  15   products through advertising restrictions aimed at both minors and adults. But it
  16   does so while simultaneously authorizing speech encouraging minors to participate
  17   in activities where they will, in fact, be using firearms and related products. Req.
  18   Jud. Nt., Ex. 33 at 11-12. The law is thus clearly not concerned with minors gaining
  19   access to actual firearms—just the speech that might entice them to do so. Whatever
  20   the constitutional contours of regulations on minors’ access to actual firearms should
  21   be (a question not at issue), California’s policy of restricting a minor’s access to
  22   information about firearm-related products, when California openly admits that
  23   minors may lawfully use those products, makes the government seem almost
  24   schizophrenic.
  25         Again, AB 2571 is, at best, an impermissible restriction on speech that only
  26   indirectly serves the State’s public safety interest. Sorrell v. IMS Health Inc., 564
  27   U.S. 552, 554-55 (2011) (holding that the state may not “achieve its policy
  28   objectives through the indirect means of restraining certain speech by certain

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   1   speakers”). Even though the Supreme Court and the Ninth Circuit have sometimes
   2   tolerated indirect advertising restrictions to dampen market demand, see United
   3   States v. Edge Broad. Co., 509 U.S. 418, 434 (1993), “when a State entirely
   4   prohibits dissemination of truthful, nonmisleading commercial messages for reasons
   5   unrelated to the preservation of a fair bargaining process, there is far less reason to
   6   depart from the rigorous review that the First Amendment generally demands.” 44
   7   Liquormart v. Rhode Island, 517 U.S. 484, 501 (1996). Indeed, the State “may not
   8   seek to remove a popular but disfavored product from the marketplace by
   9   prohibiting truthful, nonmisleading advertisements. …” Sorrell, 564 U.S. at 577-78.
  10   This can hardly be truer than when what the government seeks to banish from the
  11   marketplace are constitutionally protected products.
  12         Indeed, in Carey v. Population Services Int’l, 431 U.S. 678 (1977), the
  13   Supreme Court struck down a state law that prohibited the advertisement of
  14   contraceptives to everyone and prohibited both the advertisement and the sale of
  15   such products to minors. The Carey Court reiterated that the government may not
  16   “completely suppress the dissemination of concededly truthful information about
  17   entirely lawful activity,” even when that information could be categorized as
  18   “commercial speech.” Id. at 700 (quoting Va. Pharm. Bd. v. Va. Citzs. Consumer
  19   Council, 425 U.S. 748, 773 (1976)). That an expression “may be offensive to some
  20   does not justify its suppression.” Id. at 701 (internal quotation omitted). And “[a]s
  21   for the possible ‘legitimation’ of illicit … behavior”:
  22               [W]hatever might be the case if the advertisements directly
                   incited illicit … activity among the young, none of the
  23               advertisements in this record can even remotely be
                   characterized as ‘directed to inciting or producing imminent
  24               lawless action and… likely to incite or produce such action.’
                   Brandenburg v. Ohio, 395 U.S. 444, 447 (1969). They
  25               merely state the availability of products and services that
                   are not only entirely legal, cf. Pittsburgh Press Co. v.
  26               Human Relations Comm’n, 413 U.S. 376 (1973), but
                   constitutionally protected.”
  27
  28   Id. 701-02 (emphasis added).

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   1         With AB 2571’s newly adopted exemption for communications promoting or
   2   offering certain firearm-related programs, California now acknowledges that minors
   3   may lawfully participate in shooting and hunting activities though with parental
   4   authorization—and that such behavior is, dare we say, normal conduct. If shooting
   5   and hunting by minors is itself lawful conduct, it would seem that California has
   6   flitted away whatever meager justification it might have had to forbid the
   7   dissemination and receipt of communications advertising the availability of lawful
   8   firearm-related products necessary for minors to engage in those activities. In short,
   9   the law does not directly or materially advance any substantial state interest.
  10
                    3.     AB 2571 is far more extensive than necessary to promote the
  11                       State’s purported public safety interests.
  12         The last prong of the Central Hudson test requires the State to show that the
  13   challenged law “is no more extensive than necessary to further” the government’s
  14   purported interests. Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n, 447
  15   U.S. 557, 569-70 (1980). “A statute is more extensive than necessary if the
  16   government has other options that could advance its asserted interest in a manner
  17   less intrusive on First Amendment rights.” Tracy Rifle & Pistol LLC v. Harris, 339
  18   F. Supp. 3d 1007, 1018 (E.D. Cal. 2018) (citing Rubin v. Coors Brewing Co., 514
  19   U.S. 476, 491 (1995)). “In other words, ‘it should not be overinclusive.’” Id.
  20   (quoting Valle Del Sol v. Whiting, 709 F.3d 808, 825 (9th Cir. 2013)). As established
  21   in Plaintiffs’ moving papers and on reply, AB 2571 is more extensive than necessary
  22   to achieve the State’s interests because it impermissibly burdens speech about not
  23   only the illegal purchase of firearms by minors, but also the lawful use of “firearm-
  24   related products” by minors and the lawful purchase and use of such products by
  25   adults. It is also more extensive than necessary because the State has several tools
  26   available to combat the problem of illegal firearm use by minors that would not
  27   restrict speech at all. Mot. 19-21; Reply 17-20.
  28         Indeed, California law already criminalizes the sale of firearms to any person

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   1   under 21, which would also include any attempt, with an overt act, to sell a firearm
   2   to a minor. Cal. Penal Code § 27510; see also id. § 664 (attempt). State law also
   3   mandates locked-storage to prevent the unsupervised and unauthorized access of
   4   firearms by minors. Cal. Penal Code § 25100. Further, “to deter [gun] crime, the
   5   [g]overnment has an arsenal of criminal laws it may enforce.” Tracy Rifle & Pistol
   6   LLC v. Harris, 339 F. Supp. 3d 1007, 1013 (E.D. Cal. 2018). “[T]he [g]overnment
   7   could further its asserted interests simply by enforcing these laws.” Id. They attack
   8   the problem directly and without restricting any speech at all. Because the
   9   government can “achieve its interests in a manner that does not restrict speech,” it
  10   “must do so.” Thompson v. W. States Med. Ctr., 535 U.S. 357, 371 (2002). If the
  11   State feels these safeguards have proven insufficient, “it may pass additional direct
  12   regulations within constitutionally permissible boundaries.” Tracy Rifle, 339 F.
  13   Supp. 3d at 1018-19 (emphasis added). It could even mount its own speech
  14   campaign decrying the perils of minor firearm use.4 But it may not strip away First
  15   Amendment freedoms through overinclusive speech restrictions in service of even a
  16   substantial interest in protecting children from perceived harm. See Carey, 431 U.S.
  17   at 700-02; Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 581 (2001).
  18          The Supreme Court’s reasoning in Lorillard is particularly instructive. There,
  19   the Supreme Court accepted as uncontroversial that Massachusetts had an interest in
  20   preventing minors’ access to tobacco products and noted that state law had already
  21   made it illegal to sell or distribute tobacco products to them. Id. at 552. Even still,
  22   holding that “the governmental interest in protecting children from harmful
  23   materials does not justify an unnecessarily broad suppression of speech addressed to
  24   adults,” the Court struck Massachusetts’ restrictions on tobacco marketing likely to
  25   be observed by children. Id. at 581.
  26          Like Massachusetts’ ban on tobacco marketing addressed to adults that might
  27      4
            Indeed, “[t]he Supreme Court has recognized that ‘educational campaign
  28   focuses on the problems [at issue] might prove to be more effective’ than advertising
       regulations designed to decreased demand of a product.” Tracy Rifle, 339 F. Supp.
       3d at 1019 (quoting 44 Liquormart, 517 U.S. at 506 (plurality opinion)).
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   1   also be consumed by children, California’s AB 2571 restricts not only speech that
   2   directly targets children, but also speech directed to adults that “appears to be
   3   attractive to minors” under California’s subjective criteria, Cal. Bus. & Prof. Code §
   4   22949.80(a)(1). Unlike the prohibition on minor tobacco use imposed by
   5   Massachusetts and countenanced by the Lorillard Court, however, California’s AB
   6   2571 implicitly endorses—by expressly authorizing speech about—lawful minor
   7   firearm use. It stands to reason then that California’s ban on firearm-related speech
   8   stands on even shakier ground than Massachusetts’ unconstitutional ban on tobacco-
   9   related speech. For it can hardly be argued with a straight face that children must be
  10   shielded from all mention of the availability of a market of firearm-related products,
  11   while acknowledging with the same breath that they may lawfully participate in
  12   shooting and hunting activities where they will handle and use actual firearms.
  13         That said, even if California had condemned minors engaging in the shooting
  14   sports, AB 2571 would still be unconstitutional under the analysis set forth in
  15   Lorillard. Even if minors could constitutionally be denied all manner of firearm use
  16   and possession, the government goes a bridge too far when it broadly suppresses
  17   truthful speech by and for adults about lawful and, in fact, constitutionally protected
  18   products. See Carey, 431 U.S. at 700-02; Lorillard, 533 U.S. at 581.
  19         The other AB 160 amendments fail to clear up this fatal overbreadth. To the
  20   contrary, the trivial word swaps achieved by AB 160 in subsections (a)(1) and
  21   (c)(6), especially when read along with the new exemptions found at subsection
  22   (a)(3), are without effect vis-à-vis AB 2571’s sins against the First Amendment. The
  23   law is still overbroad because it targets speech directed at adults if it might
  24   reasonably be said to be attractive to minors, and because it penalizes speech to both
  25   adults and minors, even the products are lawful for minors to use. This California
  26   may not do. See Carey, 431 U.S. at 700-02; Lorillard, 533 U.S. at 581.
  27         Finally, in Brown v. Entertainment Merchants Ass’n, 564 U.S. 786 (2011), the
  28   Supreme Court took up the issue of violent video games marketed, sold, and rented

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   1   to minors. The challenged law covered games “in which the range of options
   2   available to a player include[d] killing, maiming, dismembering, or sexually
   3   assaulting an image of a human being,” Id. at 789. Citing well-established law, the
   4   Court declined California’s gambit to create a new category of unprotected speech
   5   directed at shielding minors and struck the violent video game restriction.
   6         The Brown Court observed that “as a general matter, . . . government has no
   7   power to restrict expression because of its message, its ideas, its subject matter, or
   8   its content.” Id. at 790 (quoting Ashcroft v. Am. Civ. Libs. Union, 535 U.S. 564, 573,
   9   (2002) (internal quotations omitted)). While there are “well-defined and narrowly
  10   limited classes of speech,” like obscenity, incitement, and fighting words, that may
  11   be restricted without constitutional offense, id. at 790-91 (quoting Chaplinsky v.
  12   New Hampshire, 315 U.S. 568, 571-72 (1942)), the Court declined to broaden that
  13   list to include content-based restrictions designed to protect minors from harm, id. at
  14   794-95. To the contrary, the Court held, “[s]peech that is neither obscene as to
  15   youths nor subject to some other legitimate proscription cannot be suppressed solely
  16   to protect the young from ideas or images that a legislative body thinks unsuitable
  17   for them.” Id. (quoting Erznoznik v. Jacksonville, 4322 U.S. 205, 213-214 (1975))
  18   (internal quotations omitted).
  19         What’s more, the Supreme Court recently held, in New York State Rifle &
  20   Pistol Ass’n v. Bruen, __ U.S. __, 142 S. Ct. 2111 (2022), that the appropriate
  21   analysis for Second Amendment challenges requires that “[t]he government …
  22   justify its regulation by demonstrating that it is consistent with the Nation’s
  23   historical tradition of firearm regulation.” Id. at 2129-30. California’s firearm-
  24   speech restriction, codified by AB 2571, is thus subject to the same mode of analysis
  25   as both Bruen and Brown, which also held that there is no longstanding tradition in
  26   this country of specially restricting children’s access to information on the pretext
  27   that it exposes them to violence, Brown, 564 U.S. at 795-96.
  28         And if a California law restricting marketing to minors of immersive, violent

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   1   video games—in which high scores are measured by body counts at the end of
   2   play—cannot withstand the acid test of the First Amendment, then how can
   3   California justify censorship of any kind in the marketing of firearm-related
   4   products to minors, when the state admits that minors may lawfully engage in
   5   activities that require the use of firearms? Simply put, it cannot. And this Court
   6   should enjoin enforcement of AB 2571.
   7   II.    AB 2571 ALSO VIOLATES PLAINTIFFS’ RIGHT TO EQUAL PROTECTION
   8          Because AB 2571 is still a content-based and viewpoint-discriminatory
   9   speech restriction, it still treats some speech and, necessarily, some speakers
  10   differently from others. It thus violates not just the First Amendment rights of
  11   speech, association, and press, it also violates the Equal Protection Clause of the
  12   Fourteenth Amendment. Dariano v. Morgan Hill Unif. Sch. Dist., 767 F.3d 764,
  13   779-780 (9th Cir. 2014).
  14          As explained in Plaintiffs’ moving papers, the Equal Protection analysis is
  15   “essentially the same” as the First Amendment analysis. Mot. 20 (quoting id. at 780;
  16   Police Dep’t of Chic. v. Mosley, 408 U.S. 92, 101 (1972) (“The Equal Protection
  17   Clause requires that statutes affecting First Amendment interests be narrowly
  18   tailored to their legitimate objectives.”). Plaintiffs thus incorporate the First
  19   Amendment arguments of their moving papers and this supplemental brief. Mot. 22-
  20   23; Reply 20-21; Part I, supra. If the Court finds that Plaintiffs are likely to succeed
  21   on their claim that AB 2571 is an impermissible restriction on their First
  22   Amendment rights, it should similarly hold that AB 2571 violates their right to equal
  23   protection under the law.
  24   III.   THE OTHER PRELIMINARY INJUNCTION FACTORS FAVOR RELIEF
  25          Because, as Plaintiffs have established, Plaintiffs are likely to succeed on the
  26   merits of their constitutional claims and the recently adopted amendments to AB
  27   2571 did not change that conclusion, the remaining preliminary injunction factors—
  28

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   1   i.e., irreparable harm, balance of the equities, and the public interest—readily
   2   follow. Mot. 23-25; Reply 21-23. Preliminary relief is warranted.
   3                                      CONCLUSION
   4         For the reasons laid out in this court-ordered supplemental brief, as well as in
   5   Plaintiffs’ moving papers and reply, the Court should grant Plaintiffs’ Motion for
   6   Preliminary Injunction and enjoin the enforcement of section 22949.80 while this
   7   case proceeds to a final decision on the merits.
   8
   9   Dated: September 28, 2022            MICHEL & ASSOCIATES, P.C.
  10                                        s/ Anna M. Barvir
                                            Anna M. Barvir
  11                                        Counsel for Plaintiffs Junior Sports Magazines,
                                            Inc., Raymond Brown, California Youth
  12                                        Shooting Sports Association, Inc., Redlands
                                            California Youth Clay Shooting Sports, Inc.,
  13                                        California Rifle & Pistol Association,
                                            Incorporated, The CRPA Foundation, and Gun
  14                                        Owners of California, Inc.
  15
       Dated: September 28, 2022            LAW OFFICES OF DONALD KILMER, APC
  16
                                            s/ Donald Kilmer
  17                                        Donald Kilmer
                                            Counsel for Plaintiff Second Amendment
  18                                        Foundation
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   1                           CERTIFICATE OF SERVICE
                         IN THE UNITED STATES DISTRICT COURT
   2                       CENTRAL DISTRICT OF CALIFORNIA
   3
       Case Name: Junior Sports Magazines, Inc., et al. v. Bonta
   4   Case No.: 2:22-cv-04663-CAS (JCx)
   5
       IT IS HEREBY CERTIFIED THAT:
   6
   7          I, the undersigned, am a citizen of the United States and am at least eighteen
       years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
   8   Beach, California 90802.
   9
              I am not a party to the above-entitled action. I have caused service of:
  10
  11             PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF
                     MOTION FOR PRELIMINARY INJUNCTION
  12
  13   on the following party by electronically filing the foregoing with the Clerk of the
       District Court using its ECF System, which electronically notifies them.
  14
  15   Kevin J. Kelly, Deputy Attorney General
       kevin.kelly@doj.ca.gov
  16   300 South Spring Street, Suite 9012
  17   Los Angeles, CA 90013
          Attorney for Defendant
  18
  19          I declare under penalty of perjury that the foregoing is true and correct.
  20   Executed September 28, 2022.
  21
  22                                                 Laura Palmerin
  23
  24
  25
  26
  27
  28


                                 CERTIFICATE OF SERVICE
